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                        IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON




UNITED STATES OF AMERICA,                             3:16-cr-00226-HZ

                      Plaintiff,                      OPINION & ORDER

       v.

JOHN WILLIAM BUTLER III,

                      Defendant.



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HERNÁNDEZ, District Judge:

       Defendant moves the Court to reduce his sentence under 18 U.S.C. § 3582(c)(1)(A)(i).

The Government opposes Defendant’s motion. For the reasons that follow, the motion is denied.

                                        BACKGROUND

       On January 9, 2017, Defendant pleaded guilty to Felon in Possession of a Firearm. Pet. &

Order Entering Guilty Plea, ECF 17. The Court sentenced Defendant to one hundred twenty

months imprisonment. Amended Judgment, ECF 33. At the time of filing, Defendant’s projected

release date was October 24, 2024. Def. Mot. 3, ECF 35. Defendant is currently serving his

sentence at FCI Lompoc.

                                          STANDARDS

       A federal district court generally “may not modify a term of imprisonment once it has

been imposed.” 18 U.S.C. § 3582(c); Dillon v. United States, 560 U.S. 817, 824–25 (2010). With

the passage of the First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5191 (2018), however,

Congress authorized the district court to modify a defendant’s sentence on a motion for

compassionate release:

       [T]he court, upon motion of the Director of the Bureau of Prisons, or upon motion
       of the defendant after the defendant has fully exhausted all administrative rights to
       appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf
       or the lapse of 30 days from the receipt of such a request by the warden of the
       defendant’s facility, whichever is earlier may reduce the term of imprisonment . . .
       after considering the factors set forth in section 3553(a) to the extent that they are
       applicable, if it finds that—

              (i) Extraordinary and compelling reasons warrant such a reduction; [. . . ]

              and that such a reduction is consistent with applicable policy statements
              issued by the Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A).




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       The policy statement issued by the United States Sentencing Commission identifies four

categories of extraordinary and compelling reasons: (A) the medical condition of the defendant;

(B) the age of the defendant; (C) family circumstances; and (D) other reasons, as determined by

the Director of the BOP, that amount to an extraordinary and compelling reason “other than, or

in combination with, the reasons described in subdivisions (A) through (C).” U.S.S.G. § 1B1.13

app. n. 1(A)–(D).

       The policy statement also requires the court to determine whether the circumstances

warrant a reduction (and, if so, the amount of reduction), after considering the factors set forth in

18 U.S.C. § 3553(a), and whether the defendant is a danger to the safety of any other person or to

the community. U.S.S.G. § 1B1.13(4).

       The defendant seeking a reduction of his sentence bears the burden to establish that the

defendant has exhausted his administrative remedies and that extraordinary and compelling

reasons exist to warrant a reduction of his or her sentence. 18 U.S.C. § 3582(c)(1)(A); United

States v. Greenhut, 2:18-CR-00048-CAS-1, 2020 WL 509385, at *1 (C.D. Cal. Jan. 31, 2020)

(holding that a defendant bears the burden of establishing entitlement to sentencing reduction

and citing United States v. Sprague, 135 F.3d 1301, 1306–07 (9th Cir. 1998)).

                                          DISCUSSION

       Defendant is 55 years old. He asserts that he suffers from “chronic asthma, essential

hypertension, hyperlipidemia (high cholesterol), bipolar disorder, and anxiety.” Def. Mot. 1, ECF

35. He argues that these serious medical conditions and his age, combined with the growing




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pandemic and FCI Lompoc’s response to COVID-19, provide extraordinary and compelling

reasons to reduce his sentence.1

       The Government argues that Defendant does not qualify for compassionate release

because his asserted medical conditions have not been shown to increase a person’s risk for

developing serious illness from COVID-19. The Government further argues that Defendant has

failed to show he is no longer a danger to the community.

       As a preliminary matter, the Court acknowledges that we are in the midst of a global

health crisis. The Court also acknowledges that prisoners are exceptionally vulnerable to

infection due to the lack of distancing and hygiene issues endemic to prison life.2 Nevertheless,

the Court cannot find that Defendant has met his burden to show that extraordinary and

compelling reasons exist to warrant a reduction of his sentence.

       A. Defendant’s Medical Conditions

       According to the Centers for Disease Control and Prevention (CDC), older adults and

people with certain underlying medical conditions are more likely to become severely ill from

COVID-19.3 These conditions include “serious heart conditions, such as heart failure, coronary




1
  Defendant also notes that he was diagnosed with COVID-19 in May of 2020. The Court
acknowledges that there is limited evidence on COVID-19 immunity and does not consider his
motion as though he is at a lower of risk of reinfection due to his previous diagnosis. See Interim
Clinical Guidance for Management of Patients with Confirmed Coronavirus Disease (COVID-
19), Centers for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-
ncov/hcp/clinical-guidance-management-patients.html (last updated Sept. 10, 2020).
2
  Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in Correctional
& Detention Facilities, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
correctional-detention.html (last updated July 22, 2020).
3
  People at Increased Risk of Severe Illness, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-increased-
risk.html (last updated Sept. 11, 2020).
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artery disease, or cardiomyopathies.”4 The CDC has also identified conditions that may increase

the risk for severe illness from COVID-19.5 These conditions include asthma (moderate-to-

severe) and hypertension.6

           Here, Defendant has not identified any conditions that appear on the CDC’s list of

conditions that are likely to increase the risk of severe illness from COVID-19. Rather he has

two documented conditions which the CDC indicates may increase a patient’s risk of serious

illness from COVID-19: asthma and hypertension.

           Overall it appears Defendant’s asthma and hypertension are relatively well-managed.

Despite periods of needing to request more medication, he has received consistent medical care

and prescription drugs to treat his asthma. Additionally, Defendant’s hypertension is just outside

the normal range for his age and has been regularly treated.

           Defendant also reports that he has high cholesterol. While, the CDC recommends

reducing cholesterol to manage the risk associated with other serious heart conditions, Defendant

does not suffer from any of those heart conditions, and high cholesterol alone is not a known risk

factor.7



4
  People with Certain Medical Conditions, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html (last updated Sept. 11, 2020).
5
  Id.
6
  Id. Conditions listed as likely to increase the risk for severe illness from COVID-19 are
supported by the “strongest and most consistent evidence,” defined as “consistent evidence from
multiple small studies or a strong association from a large study.” Scientific Evidence for
Conditions that Increase Risk of Severe Illness, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/evidence-table.html (last
updated July 28, 2020). Conditions that may increase the risk for severe illness from COVID-19
are supported by mixed evidence, defined as “multiple studies that reached different conclusions
about risk associated with a condition,” or limited evidence, defined as “consistent evidence
from a small number of studies.” Id.
7
  Id.
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       Finally, Defendant argues his mental health diagnoses of anxiety and depression “render

him more vulnerable to the deleterious effects of COVID-19.” Def. Mot. 11., ECF 35. The Court

acknowledges that the circumstances of COVID-19 undoubtedly present challenges for people

managing mental health conditions in prison and is sympathetic to Defendant’s concerns.

However, these diagnoses when not combined with other risk factors that increase his risk of

serious illness from COVID-19, are not enough to warrant compassionate release.

       B. Defendant’s Age

       Defendant argues his age places him at a higher risk of serious illness due to COVID-19.

At 55, Defendant is younger than the high-risk group identified by the CDC.8 The Court finds

that although Defendant has a higher risk of severe illness when compared to younger inmates—

and a lower risk than older inmates—his age is not an extraordinary or compelling reason to

reduce his sentence.

       C. FCI Lompoc’s Response to the Pandemic

       Defendant notes that FCI Lompoc has had the highest rate of infection of any BOP facility

in the country. He argues that after a serious outbreak in May 2020, FCI Lompoc failed to re-test

inmates who had previously tested positive–casting doubt on the number of currently known

infections versus inmates who have recovered from the virus. He also points to the recent Office

of the Inspector General (OIG) report on the pandemic response at FCC Lompoc which

concluded that the FCC Lompoc failed to take several measures that could have prevented the

spread of COVID-19 in its four facilities.9



8
  Older Adults, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/older-adults.html (last
updated Sept. 11, 2020).
9
  PANDEMIC RESPONSE REPORT 20-086-Remote Inspection of Federal Correctional
Complex Lompoc, Department of Justice Office of the Inspector General, July 2020
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       The Government argues that although FCC Lompoc had a COVID-19 outbreak in May,

now there are far fewer cases. As of September 23, 2020, FCI Lompoc has zero active inmate

cases and three active staff cases.10 As a result, the rates of infection at FCI Lompoc have tapered

off, and do not pose an extraordinary risk of infection. Additionally, even though the

Government does not refute Defendant’s contention that re-testing at FCC Lompoc has not

occurred since the May outbreak, current evidence suggests the risk that inmates would remain

infected over three months later is low.11

       As found in the OIG report, the Court acknowledges that FCC Lompoc’s initial response

to the COVID-19 pandemic was unacceptable and resulted in suffering and loss of life.12 The

Court regrets that Defendant had to witness the passing of a fellow inmate and experience the

virus himself. Nevertheless, the Court cannot find that Defendant has met his burden to show

that FCI Lompoc’s current response or infection rate is an extraordinary and compelling reason

to warrant a reduction of his sentence.




https://oig.justice.gov/reports/remote-inspection-federal-correctional-complex-lompoc. FCC
Lompoc comprises four separate facilities, including FCI Lompoc where Defendant is serving
his sentence.
10
   COVID-19 Cases, Fed. Bureau of Prisons, bop.gov/coronavirus (last visited Sept. 23, 2020).
11
   Duration of Isolation and Precautions for Adults with COVID-19, Centers for Disease Control
and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/hcp/duration-isolation.html (last
updated Sept. 10, 2020) (noting that data indicates people with COVID-19 remain infectious for
no longer than twenty days after symptom onset and that “[s]tudies have not found evidence that
clinically recovered persons with persistence of viral RNA have transmitted SARS-CoV-2 to
others).
12
   Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) for Correctional
& Detention Facilities, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
correctional-detention.html (last updated July 22, 2020).
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       D. Defendant’s Risk to the Community

       The Court has reviewed the Government’s and Defendant’s arguments as to whether

Defendant is a danger to the community. The Court commends Defendant for completing the

Residential Drug Abuse Treatment Program and attempting to address the underlying factors that

may have led to his sentence. The Court also notes that Defendant has four years remaining on

his sentence, prior convictions involving firearms, and a history of domestic violence. However,

because the Court has determined that extraordinary and compelling circumstances do not

warrant a reduction of the defendant’s sentence, the Court declines to make a finding regarding

whether the defendant remains a danger to others or to the community at this time.

                                        CONCLUSION

       The Court DENIES Defendant’s Motion to Reduce Sentence Pursuant to 18 U.S.C. §

3582(c)(1)(A)(i) [35] without prejudice and with leave to seek reconsideration if circumstances

change.

       IT IS SO ORDERED.



       DATED:_______________________.
                November 5, 2020




                                                    MARCO A. HERNÁNDEZ
                                                    United States District Judge




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